
644 S.E.2d 562 (2007)
STATE of North Carolina
v.
James Franklin WEST.
No. 31P07.
Supreme Court of North Carolina.
March 8, 2007.
Daniel Shatz, Assistant Appellate Defender, for James Franklin West.
Richard Votta, Assistant Attorney General, Edward W. Grannis, Jr., District Attorney, for State of NC.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant on the 23rd day of January 2007 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Attorney General, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 8th day of March 2007."
Upon consideration of the petition filed on the 23rd day of January 2007 by Defendant *563 in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th day of March 2007."
